&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-03-25"&gt;
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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/895011568" data-vids="895011568" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Manuel Ramos Rodriguez&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 21SC322&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 22, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-format="title_case_lacks_specifier" data-value="Court
 of Appeals Case No. 18CA7" data-specifier="" data-parsed="true" data-content-heading-label="
 Court
 of Appeals Case No. 18CA7
" id="heading_152" data-id="heading_152"&gt;&lt;span data-paragraph-id="152" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="152" data-sentence-id="169" class="ldml-sentence"&gt;Court
 of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Appeals Case&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 18CA7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="207" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="207" data-sentence-id="223" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="269" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="269" data-sentence-id="292" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt; would grant as to the following issue:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="346" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="346" data-sentence-id="362" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversibly erred by finding that &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; was allowed to introduce and highlight evidence
 &lt;span class="ldml-parenthetical"&gt;(throughout its case-in-chief)&lt;/span&gt; that the victim was twenty-six
 weeks pregnant during the assault.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="609" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="609" data-sentence-id="610" class="ldml-sentence"&gt;1&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;
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